      Case 1:22-cv-00153-PAE-KHP Document 36 Filed 11/28/22 Page 1 of 1
                                                                    APPLICATION GRANTED: The
                                                                    Case Management Conference
                                                                    scheduled for Tuesday, December
                                               11/28/2022
                                                                    13, 2022 at 11:00 a.m. in
                                                                    Courtroom 17-D, United States
VIA ECF                                                             Courthouse, 500 Pearl Street, New
                                                                    York, New York is hereby
                                      November 28, 2022             rescheduled to Thursday,
Hon. Katharine H. Parker
                                                                    February 2, 2023 at 12:35 p.m.
U.S. District Courthouse
Southern District of New York
500 Pearl Street
New York, NY 10007-1312

        Re:     Bonilla et al. v. Lucero Produce II Corp. & Saul Lucero                      11/28/2022
                Docket No. 22-CV-153 (PAE) (KHP)

Dear Judge Parker:

        The New York Legal Assistance Group (“NYLAG”) represents Plaintiffs in the
above referenced matter. We, together with counsel for Defendants, write jointly to request
an adjournment of the December 13, 2022 Case Management Conference pursuant to Your
Honor’s approval of the Parties’ previously filed request for an adjournment. See ECF Nos.
34, 33.

        Both Parties have previously scheduled matters for December 13, 2022 and missed
the opportunity to exclude certain dates in their previous request. The Parties respectfully
request the Court to reschedule the Case Management Conference to either December 16,
2022 or December 19, 2022 at whichever time that the Court determines. The Parties make
the request in recognition of the deadline of the close of fact discovery of January 13, 2023.
See ECF No. 29. The Parties apologize for any inconvenience this request raises and will
include or exclude specific dates or times in any future adjournment requests, should they
be made.

        Thank you for your attention to this matter.

                                        Respectfully submitted,

                                        /s/Brian Nettle
                                        Brian ‘Geno’ Nettle
                                        Staff Attorney, Employment Law Project
                                        New York Legal Assistance Group
                                        Counsel for Plaintiffs


cc:     Nicole Brenecki, Esq. (via e-mail and ECF)


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                                              nylag.org
